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    7   Attorneys for Debtors and Debtors in
        Possession, SCOOBEEZ, SCOOBEEZ GLOBAL,
    8   INC., and SCOOBUR, LLC
    9
                                        UNITED STATES BANKRUPTCY COURT
  10
                                         CENTRAL DISTRICT OF CALIFORNIA
  11
                                                  LOS ANGELES DIVISION
  12
                                                                     Case No. 2:19-bk-14989-WB
  13        In re:                                                   Jointly Administered:
                                                                     2:19-bk-14991-WB; 2:19-bk-14997-WB
  14        SCOOBEEZ, et al.1
                                                                     Chapter 11
  15                   Debtors and Debtors in Possession.

  16        Affects:                                                 DEBTORS’ LIMITED OBJECTION TO
  17                                                                 MOTION FOR ALLOWANCE AND
            ■ All Debtors                                            PAYMENT OF ADMINISTRATIVE
  18                                                                 EXPENSE CLAIM
            □ Scoobeez, ONLY
  19        □ Scoobeez Global, Inc., ONLY
  20                                                                 Hearing:
            □ Scoobur LLC, ONLY                                      Date: January 23, 2020
  21                                                                 Time: 10:00 a.m.
                                                                     Place: Courtroom 1375
  22                                                                        U.S. Bankruptcy Court
                                                                            255 East Temple Street
  23                                                                        Los Angeles, CA 90012

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         The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows: Scoobeez
  28
        (6339); Scoobeez Global, Inc. (9779); and Scoobur, LLC (0343). The Debtors’ address is 3463 Foothill Boulevard, Glendale,
        California 91214.


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    1   Scoobeez, Scoobeez Global, Inc., and Scoobur, LLC, the debtors and debtors in possession (collectively
    2   “Debtors” or “Scoobeez”) in the above-captioned chapter 11 bankruptcy cases (collectively the “Chapter
    3   11 Cases”) hereby file their Limited Objection to Motion for Allowance and Payment of Administrative
    4   Expense Claim of Shoushana Ohanessian [Docket No. 517] (the “Administrative Claim”).
    5              Despite its length, the Administrative Claim lacks critical information necessary for the Court to
    6   allow these reimbursable expenses. This lack of information is not surprising, as the Debtors have been
    7   requesting basic information from Ms. Ohanessian since August 2019. Despite these repeated requests,
    8   Ms. Ohanessian has not, to date, provided the information necessary for the Debtors to determine how
    9   much of the requested expenses are appropriately reimbursable.
  10               The Debtors are committed to paying the “necessary expenditures” incurred by Ms. Ohanessian
  11    in “direct consequence of the discharge” of her duties, as required by California Labor Code Section
  12    2802.
  13               Some of the expenses that Ms. Ohanessian has submitted would undoubtedly fall into this
  14    category (for instance, her basic hotel stay in Chicago). Some of the expenses that Ms. Ohannessian has
  15    submitted undoubtedly fall outside of this category (for instance, repeated hotel mini-bar charges, hotel
  16    upgrades, and cash back on credit card transactions). And, some of the expenses that Ms. Ohannessian
  17    has submitted without any additional information, despite repeated, multiple requests, Ms. Ohannessian
  18    has refused to provide necessary documentation of the expenses that she submitted (for instance, more
  19    than $1,000 of Uber transactions, without any information about where or why the Uber was taken).
  20    Without more information, such as the nature of the transaction, or who was present at the meeting, or
  21    where an uber or taxi was taken, the Debtors cannot evaluate the expense reimbursement request.
  22               Given the inter-related nature of her expense requests, the Debtors will consider all necessary
  23    expenditures as soon as Ms. Ohanessian provides the requested, necessary information to determine
  24    which are necessary expenditures, within the meaning of California Labor Code Section 2802. Until
  25    that time, this administrative claim should be held in abeyance until Ms. Ohanessian provides sufficient
  26    documentation of these expenses.
  27               Moreover, given the excessive nature of these reimbursement requests (especially in comparison
  28    to other, similarly situated employees), the Debtors must ensure that the payment of these expenses are
                     DEBTORS’ LIMITED OBJECTION TO OHANESSIAN MOTION FOR ALLOWANCE AND PAYMENT OF
                                                                      ADMINISTRATIVE EXPENSE CLAIM
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    1   pursuant to all Bankruptcy Court orders, including the applicable cash collateral budgets. See, e.g.,
    2   Docket Nos. 172, 328 and 490.
    3              Finally, Ms. Ohanessian raises for the first time in the Administrative Claim an issue regarding
    4   the Debtors’ obligation to pay for tolls, obligations that were incurred prior to the Petition Date.
    5   Pursuant to Section 503 of the Bankruptcy Code, an administrative expense is an expense that is the
    6   “actual, necessary, cost of preserving the estate.” These pre-petition obligations are not an appropriate
    7   administrative expense.
    8
        DATED: January 9, 2020                            FOLEY & LARDNER LLP
    9

  10
                                                          /s/ Ashley McDow
  11                                                      Ashley McDow

  12                                                      Attorneys for Debtors and Debtors-in-Possession
                                                          SCOOBEEZ, SCOOBEEZ GLOBAL, INC., and
  13                                                      SCOOBUR, LLC

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                     DEBTORS’ LIMITED OBJECTION TO OHANESSIAN MOTION FOR ALLOWANCE AND PAYMENT OF
                                                                      ADMINISTRATIVE EXPENSE CLAIM
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                                                 PROOF OF SERVICE OF DOCUMENT

        I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My
        business address is:
        Foley & Lardner LLP, 555 South Flower Street, Suite 3300, Los Angeles, CA 90072-2411
        A true and correct copy of the foregoing document entitled (specify):

        DEBTORS’ LIMITED OBJECTION TO OHANESSIAN MOTION FOR ALLOWANCE AND
        PAYMENT OF ADMINISTRATIVE EXPENSE CLAIM

        will be served or was served (a) on the judge in chambers in the form and manner required by
        LBR 5005-2(d); and (b) in the manner stated below:

        1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant
        to controlling General Orders and LBR, the foregoing document will be served by the court via
        NEF and hyperlink to the document. On (date) 11/4/19, I checked the CM/ECF docket for this
        bankruptcy case or adversary proceeding and determined that the following persons are on the
        Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:



                                                                               Service information continued on attached page

        2. SERVED BY UNITED STATES MAIL:
        On (date) 11/4/19, I served the following persons and/or entities at the last known addresses in
        this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
        sealed envelope in the United States mail, first class, postage prepaid, and addressed as
        follows. Listing the judge here constitutes a declaration that mailing to the judge will be
        completed no later than 24 hours after the document is filed.

        Honorable Julia W. Brand
        United States Bankruptcy Court
        Central District of California
        Edward R. Roybal Federal Building and Courthouse
        255 E. Temple Street, Suite 1382
        Los Angeles, CA 90012


                                                                               Service information continued on attached page

        3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION
        OR EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or
        controlling LBR, on (date)                               , I served the following persons and/or
        entities by personal delivery, overnight mail service, or (for those who consented in writing to
        such service method), by facsimile transmission and/or email as follows. Listing the judge here
        constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
        completed no later than 24 hours after the document is filed.


               This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


         June 2012                                                                                F 9013-3.1.PROOF.SERVICE
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    1                                                     Service information continued on attached page
    2   I declare under penalty of perjury under the laws of the United States that the foregoing is true
        and correct.
    3

    4
           1/9/20               Ashley McDow                          /s/ Ashley McDow
    5      Date                 Printed Name                          Signature

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                    DEBTORS’ LIMITED OBJECTION TO OHANESSIAN MOTION FOR ALLOWANCE AND PAYMENT OF
                                                                     ADMINISTRATIVE EXPENSE CLAIM
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        1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
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            Eric D Winston      ericwinston@quinnemanuel.com
            Eric K Yaeckel     yaeckel@sullivanlawgroupapc.com




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